UNITED STATES BANKRUPTCY COURT
DISTRICT OF DELAWARE

IN RE:

LEL CARIBE, LLC Chapter 7
Case No. 14-11262/MFW

Debter.

ORDER OF DISTRIBUTION

AND NOW, Alfred T. Giuliano, Trustee, is hereby ordered and directed to (i) distribute to the
parties in interest listed in the attached Distribution Schedule(s), estate monies in the amounts
indicated in such Schedule(s), within fourteen (14) days after the appeal period for this order expires,
and (ii) transmit to the United States Trustee, within one hundred twenty (120) days after the appeal
period for this order expires, statements for all estate deposit or investment accounts indicating zero
balances and all cancelled checks corresponding to disbursements of estate funds as shown in the

Trustee's Final Report and Account.

 
